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                                                       May 11, 2023
The Honorable Ann M. Donnelly
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

       Re: United States v. Douglass Mackey, Criminal Docket No. 21-0080 (AMD)

Dear Judge Donnelly:

                 On behalf of Mr. Mackey, I write to request that the Court modify his travel
restrictions to permit him to travel this weekend with his wife to Tampa (departing his home in
Florida for Tampa on Saturday and returning home on Sunday) for a baby shower. The
government does not object. Pretrial Services in Florida where Mr. Mackey resides defers to
Pretrial Services in this District. For out-of-town supervisees not assigned a particular officer in
this District, Pretrial Services in this District has an email address to solicit its position on
applications like this one, but Pretrial Services in this District can be slow to respond to such
emails, and has not responded to Mr. Mackey’s email. I am aware of no circumstance that would
even arguably support denial of this request.

                                              Respectfully submitted,

                                              /s/ Andrew J. Frisch
                                              Andrew J. Frisch
cc: U.S. Attorney’s Office
